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 Attorneys for Rodolfo A. Camacho Trustee




                              UNITED STATES BANKRUPTCY COURT

                                   FOR THE DISTRICT OF OREGON

   In re                                                  )
                                                          )
   THREE J’S DISTRIBUTING, INC.                           )          CASE NO. 18-32288-pcm7
                                                          )
                                             Debtor       )
                                                          )
                                                          )
                                                          )
   RODOLFO A. CAMACHO, Trustee,                           )
                                                          )          AD. PROC. NO.
                                           Plaintiff,     )
                                                          )          COMPLAINT TO AVOID
                v.                                        )          PREFERENTIAL TRANSFER
                                                          )
   FARMER BROS. CO.                                       )
                                                          )
                                       Defendant.         )
                                                          )
                                                          )
                                                          )

           Plaintiff alleges as follows:

                                 INTRODUCTORY ALLEGATIONS

           1.        This adversary proceeding is brought pursuant to 11 U.S.C. §§ 547 and 550 to

avoid a preference (lien perfection) made within 90 days prior to the Petition Date and to recover

such transfer for the benefit of the estate.

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                            Case 20-03063-pcm            Doc 1       Filed 06/11/20
         2.        This is a core proceeding and the Court has jurisdiction over this action under

28 U.S.C. §§ 1334, 157(b)(1), and 157(b)(2)(F), and (O).

         3.        On June 29, 2018 (the “Petition Date”), three petitioning creditors (including the

Defendant) filed an involuntary petition for relief against the Debtor under Section 303 of the

Bankruptcy Code (the “Code”). On August 15, 2018, the Debtor and the petitioning creditors

entered into a Stipulated Consent to Order for Relief. On August 16, 2018, the Bankruptcy Court

entered an order for relief.

         4.        Rodolfo A. Camacho was appointed as trustee of the Debtor’s estate (the

“Trustee”).

         5.        On June 26, 2018, prior to the Petition Date, the Clackamas County Circuit Court

signed a money judgment (the “Judgment”) in favor of Defendant Farmer Bros. Co. (“Defendant”

or “Farmer Bros.”) in the principal amount of $866,219.72 against the Debtor in the matter titled

Farmer Bros. Co. v. Three J's Distributing, Inc., Clackamas County Circuit Court Case No.

18CV17542. The Judgment was entered on June 27, 2018. Upon entry of the Judgment, a

judgment lien was imposed by operation of law pursuant to ORS 18.150 on all real property owned

by the Debtor in Clackamas County, Oregon.

         6.        The Debtor had an interest in real property in Clackamas County located at 9812

SE Elon Street, Clackamas, Oregon 97015 (the “Property”) and such interest became property of

the estate upon entry of an order for relief. The judgment lien obtained by the Defendant attached

to the Property and was perfected by Defendant two days before the Petition Date (the “Transfer”).

                                        CLAIM FOR RELIEF
                               (Avoid and Recover Preferential Transfer
                                   Under 11 U.S.C. § § 547 and 550)
         7.        The Trustee restates and incorporates the allegations of paragraphs 1 through 6

above.



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         8.        The Transfer; (a) was a transfer of an interest of the Debtor in a property; (b) was

made to or for the benefit of the Defendant, a creditor; (b) was made on account of antecedent debt

owed by the Debtor to the Defendant; (c) was made while the Debtor was insolvent; (d) was made

on or within 90 days before the Petition Date; and (e) enabled Defendant to receive more than

Defendant would receive if the case were a case under chapter 7 of the Code and such transfer had

not been made and Defendant received payment to the extent provide by the Code.

         9.         The Trustee is entitled to a judgment avoiding Transfer under 11 U.S.C. § 547 and

preserving the Transfer (the judgment lien) for the benefit of the estate under 11 U.S.C. § 550.

         WHEREFORE, the Trustee requests entry of a judgment (a) avoiding the Transfer; and (b)

preserving the judgment lien for the benefit of the estate.

         DATED: June 11, 2020
                                                   LANE POWELL PC



                                                   By /s/ David W. Criswell
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